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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
uld                                                  Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     February 25, 2021


BY ECF

The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Reginald Fowler, S3 19 Cr. 254 (ALC)

Dear Judge Carter:

       The Government writes, pursuant to the Court’s February 9, 2021 order (Dkt. 84), to inform
the Court that no attorney has filed a Notice of Appearance or contacted the Government on behalf
of the defendant in the above-captioned matter. The Government respectfully requests that the
Court schedule a status conference and that the Court exclude time from calculation under the
Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), until the date of the next conference. The exclusion
of time will allow the defendant to obtain counsel, either retained or appointed, and provide that
counsel the opportunity to review discovery, consider potential defenses, and discuss a resolution
with the Government.



                                                     Respectfully submitted,
                                                     AUDREY STRAUSS
                                                     United States Attorney

                                             By:     _/s/___________________________
                                                     Sheb Swett
                                                     Samuel Rothschild
                                                     Jessica Greenwood
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cc:    Reginald Fowler (by email to prior counsel)
